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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DELAWARE VALLEY AESTHETICS, PLLC
D/B/A RUMER COSMETIC SURGERY

and : NO. = 20-cv-00456
KATHY RUMER, DO FACOS

Vv.

JOHN DOE 1
and
JANE DOE 1

 

ENTRY OF APPEARANCE
Kindly enter my appearance on behalf of Plaintiffs, Delaware Valley Aesthetics, PLLC

and Kathy Rumer, DO FACOS
ROGERS CASTOR

By: /s/ Lance Rogers
Lance Rogers

Attorneys for Plaintiffs

Rogers Castor

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